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Prob 12 (Rev. 11/1/2004)

                             United States District Court
                                                for the
                                   DISTRICT OF MINNESOTA
                                United States v. Julie Ann Campana
                             Docket No. 0864 0:12CR00295-002(PAM)
                                   Petition on Supervised Release

        COMES NOW Quinten L. Billingslea, U.S. PROBATION OFFICER OF THE COURT,
presenting an official report upon the conduct and attitude of Julie Ann Campana who was
sentenced for Aiding and Abetting Interference with Commerce by Robbery on July 24, 2013, by
the Honorable Paul A. Magnuson, who fixed the period of supervision at 3 years supervised
release, and imposed the general terms and conditions theretofore adopted by the Court and also
imposed special conditions and terms as follows:

         •        No alcohol; not to enter establishment where alcohol is sold
         •        Participate in substance abuse treatment program
         •        Substance abuse testing
         •        Employment required
         •        Financial disclosure
         •        No new credit

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

         STANDARD CONDITION: The defendant shall not leave the judicial district
         without permission of the court or probation officer.

         SPECIAL CONDITION: The defendant shall abstain from the use of alcohol and
         other intoxicants and not frequent establishments whose primary business is the
         sale of alcoholic beverages.

On April 18, 2016, the defendant admitted to consuming alcohol and traveling outside of the
district without permission.

PRAYING THAT THE COURT WILL ORDER that conditions of supervision be modified to
include the following:

         The defendant shall participate in a remote alcohol monitoring program for a
         period of 30 days.

         The defendant shall remain at home from the hours of 9:00 p.m. until 5:00 a.m.
         the following day for the purposes of alcohol testing. The defendant shall not be
         required to pay the costs of location monitoring.
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Petition on Supervised Release                             RE: Julie Ann Campana
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         ORDER OF THE COURT                   I declare under penalty of perjury that
                                              the foregoing is true and correct.
                              26th
Considered and ordered this __________ day
    April,   2016
of __________________, and ordered filed      s/ Quinten Billingslea
and made a part of the records in the above
case.                                         Quinten L. Billingslea
                                              U.S. Probation Officer
 s/Paul A. Magnuson                           Telephone: 651-848-1256
Honorable Paul A. Magnuson                    Executed on    April 25, 2016
Senior U.S. District Judge
                                              Place          St Paul

                                              Approved:

                                              s/ Douglas S. Stevens
                                              Douglas S. Stevens
                                              Supervising U.S. Probation Officer
